&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="f6d1862fa3"&gt;&lt;span data-sentence-id="00d3abcb89" quote="false" data-paragraph-id="f6d1862fa3"&gt; Jennifer Armbruster, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="ce7f730afe" quote="false" data-paragraph-id="f6d1862fa3"&gt; &lt;br /&gt; American Family Mutual Insurance Company, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="b2517b3ff6"&gt;No. 21SC466&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="b594c41337"&gt;October 25, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="f6644c8c70"&gt;&lt;span data-sentence-id="66eb0c3df2" quote="false" data-paragraph-id="f6644c8c70"&gt; Court of Appeals Case No. 19CA2345 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;